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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH CAROLINA
                              (COLUMBIA DIVISION)


In re SCANA Corporation Securities        Civil Action No. 3:17-CV-2616-MBS
Litigation




  JOINT DECLARATION OF JOHN C. BROWNE AND JAMES W. JOHNSON IN
SUPPORT OF (I) LEAD PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF CLASS
ACTION SETTLEMENT AND PLAN OF ALLOCATION; AND (II) LEAD COUNSEL’S
          MOTION FOR AN AWARD OF ATTORNEYS’ FEES AND
                  PAYMENT OF LITIGATION EXPENSES
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         EXHIBIT                                  DOCUMENT

             1                    Declaration of Harmen Nieuwenhuis on Behalf
                                  of Blue Sky, dated April 21, 2020

             2                    Declaration of Craig Slaughter on Behalf of
                                  West Virginia IMB, dated April 15, 2020

             3                    Declaration of Alexander P. Villanova
                                  Regarding: (A) Mailing of the Notice and
                                  Claim Form; (B) Publication of the Summary
                                  Notice; and (C) Report on Requests for
                                  Exclusion, dated April 21, 2020

             4                    Declaration of Layn R. Phillips, dated April 19,
                                  2020

             5                    Declaration on Behalf of Bernstein Litowitz
                                  Berger & Grossmann LLP, dated April 22,
                                  2020

             6                    Declaration on Behalf of Labaton Sucharow
                                  LLP, dated April 22, 2020

             7                    Declaration on Behalf of Motley Rice LLC,
                                  dated April 22, 2020

             8                    Summary Table of Lodestars and Expenses

             9                    Summary Table of Plaintiffs’ Counsel’s
                                  Expenses

             10                   Unreported Order




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       JAMES W. JOHNSON and JOHN C. BROWNE jointly declare as follows:

I.     INTRODUCTION

       1.     John C. Browne is a partner in the law firm of Bernstein Litowitz Berger &

Grossmann LLP (“BLB&G”) and James W. Johnson is a partner in the law firm of Labaton

Sucharow LLP (“Labaton Sucharow”). BLB&G and Labaton are each Court-appointed Lead

Counsel for Lead Plaintiffs West Virginia Investment Management Board (“West Virginia

IMB”) and Stichting Blue Sky Global Equity Active Low Volatility Fund and Stichting Blue Sky

Active Large Cap Equity USA Fund (“Blue Sky”) (collectively, “Lead Plaintiffs” or “Plaintiffs”)

and the proposed Settlement Class in the above-captioned action (the “Action”). 1 We have

personal knowledge of the matters set forth herein based on our active participation in the

prosecution and settlement of the Action.

       2.     We respectfully submit this Joint Declaration in support of: (a) Lead Plaintiffs’

Motion for Final Approval of Class Action Settlement and Plan of Allocation (the “Final

Approval Motion”); and (b) Lead Counsel’s Motion for an Award of Attorneys’ Fees and

Payment of Litigation Expenses. In support of these motions, Lead Plaintiffs and Lead Counsel

are also submitting the exhibits attached hereto, the Memorandum of Law in Support of Lead

Plaintiffs’ Motion for Final Approval of Class Action Settlement and Plan of Allocation (the

“Settlement Memorandum”) and the Memorandum of Law in Support of Lead Counsel’s Motion

for Attorneys’ Fees and Litigation Expenses (the “Fee Memorandum”).

       3.     The proposed Settlement before the Court provides for the resolution of all claims

in the Action in exchange for a payment of $192,500,000—with $160,000,000 paid in cash and


1
        Unless otherwise defined herein, all capitalized terms have the meanings set forth in the
Stipulation and Agreement of Settlement, dated December 20, 2019 (the “Stipulation”),
previously filed with the Court. See ECF No. 214-2.
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$32,500,000 paid in freely-tradable Dominion Energy, Inc. (“Dominion Energy”) 2 common

stock, or cash at the option of SCANA. As detailed herein, the Settlement represents a very

favorable result and is in the best interests of the Settlement Class. This Settlement would be the

largest securities class action recovery in the history of the District of South Carolina, the fifth

largest securities class action recovery ever achieved in the Fourth Circuit, and among the top

100 securities class action recoveries nationwide.

       4.      Had litigation continued, Lead Plaintiffs would have faced significant risks in

establishing Defendants’ liability and proving damages in the Action. Defendants would have

vigorously opposed class certification, moved for summary judgment, and put forth substantial

defenses to liability, including challenges to falsity, scienter, materiality, and loss causation.

       5.      While Lead Plaintiffs would advance strong counterarguments of their own, Lead

Counsel recognize that there is a substantial risk that at class certification or summary judgment,

Defendants could have been successful in eliminating a portion—or even all—of the Settlement

Class’s potential recoverable damages. Even if Defendants’ motion for summary judgment was

unsuccessful, Defendants would have continued to vehemently pursue this argument in Daubert

motion practice, at trial, and through appeals.

       6.      Defendants would also have contested the alleged falsity of their statements and

whether they were made with an intent to deceive investors and commit securities fraud. They

would have argued on summary judgment, and to any jury, that the public was well aware that

building a nuclear power plant was an extremely risky endeavor and there were no guarantees it

would be successful—indeed, it has not been accomplished in America since the 1970s.


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      Dominion Energy merged with Defendant SCANA Corporation (“SCANA” or the
“Company”) effective January 2, 2019, upon which SCANA common stock was converted into
Dominion Energy common stock.


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Defendants would have pointed to copious risk disclosures they made regarding the uncertainty

of the construction project and completion deadlines, and would have argued that they justifiably

relied on purported assurances by Westinghouse—one of the largest construction conglomerates

in the world—that the project would be completed on time. Even if Lead Plaintiffs were

successful in proving their claims to a jury, Defendants would have appealed any verdict in Lead

Plaintiffs’ favor and, at a minimum, any recovery to class members would be delayed by several

years.

         7.      The Settlement eliminates these risks while providing a guaranteed recovery to

the Settlement Class in a timely manner. When viewed in this context, and relative to other

securities class action recoveries, the recovery achieved in this case is very favorable. The

Settlement has the full support of Lead Plaintiffs. See Declaration of Harmen Nieuwenhuis on

Behalf of Blue Sky, dated April 21, 2020, submitted herewith as Ex. 1, at ¶ 8; Declaration of

Craig Slaughter on Behalf of West Virginia IMB, dated April 15, 2020, submitted herewith as

Ex. 2, at ¶ 7.

         8.      As discussed in detail below, the Settlement was achieved in considerable part

due to the substantial litigation efforts of Lead Counsel. Prior to filing the detailed amended

complaint, Lead Counsel conducted an extensive investigation into the alleged fraud, including a

thorough review of the voluminous public record (including relevant SEC filings, analyst reports,

news articles, and transcripts of investor calls), as well as: documents obtained from a South

Carolina regulatory agency, the Office of Regulatory Staff (“ORS”); Santee Cooper, SCANA’s

state-owned junior partner on the Nuclear Project; and a South Carolina newspaper, among

others, pursuant to the South Carolina Freedom of Information Act (“FOIA”), and interviews




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with 69 former employees of SCANA, its lead contractors on the Nuclear Project, and others

with relevant knowledge.

       9.      After Lead Plaintiffs filed the 183 page amended complaint: (i) Lead Counsel

engaged in extensive briefing and conducted oral argument before the Court in successfully

defeating the bulk of Defendants’ motions to dismiss the amended complaint; (ii) undertook

substantial informal and formal discovery efforts, which included obtaining and reviewing

voluminous additional documents pursuant to FOIA, and, in connection with formal discovery,

Lead Plaintiffs’ production of 2,120 documents (totaling 146,963 pages), Defendants’ production

of 565,507 documents (totaling 5,215,238 pages), and the production of an additional 677

documents (totaling 11,260 pages) by Lead Plaintiffs’ four relevant non-party investment

managers; (iii) moved for class certification, which included preparation of an expert report from

Lead Plaintiffs’ economic expert, defending the depositions of each of the Lead Plaintiffs, Lead

Plaintiffs’ economic expert, and cross-examining representatives from each of the Lead

Plaintiffs’ four relevant non-party investment managers; and (iv) engaged in extensive arm’s-

length negotiations to achieve the Settlement, including two formal mediation sessions before

retired District Court Judge Layn R. Phillips.

       10.     As a result of these and other substantial efforts detailed below, Lead Plaintiffs

and Lead Counsel are well-informed of the strengths and weaknesses of the claims and defenses

in the Action, and they have concluded that the Settlement is in the best interests of the

Settlement Class.

       11.     In addition to seeking final approval of the Settlement, Lead Plaintiffs seek

approval of the proposed Plan of Allocation for the proceeds of the Settlement. Lead Plaintiffs

prepared the Plan of Allocation in consultation with their expert in the fields of damages and




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economics. Pursuant to the Plan of Allocation, the Settlement Fund, less Court-approved

attorneys’ fees and expenses, Notice and Administration Costs, and Taxes (the “Net Settlement

Fund”), will be distributed on a pro rata basis to Settlement Class Members who submit Claim

Forms that are approved for payment by the Court.

       12.     Lead Counsel worked hard, and with skill and diligence, to achieve a very

beneficial Settlement for the Class. At all times, Lead Counsel took pains to conduct the

litigation as efficiently as possible, and minimize duplicative work through careful coordination

and meaningful divisions of labor. Plaintiffs’ Counsel’s efforts have been entirely on a

contingency fee basis, and they have not received any payment of fees or expenses.

       13.     For their efforts and success in prosecuting the case and negotiating the

Settlement, Lead Counsel are applying for an award of attorneys’ fees and payment of Litigation

Expenses. Specifically, Lead Counsel are applying for: (i) attorneys’ fees in the amount of 14%

of the Settlement Fund; (ii) payment of expenses reasonably incurred by Plaintiffs’ Counsel in

the amount of $729,303.12; and (iii) an aggregate award pursuant to the Private Securities

Litigation Reform Act, 15 U.S.C. § 78u-4 (“PSLRA”), in the amount of $41,832.21, to the Lead

Plaintiffs in connection with their representation of the Settlement Class. The 14% requested fee,

which is based on the decision of Blue Sky and West Virginia IMB, is well within the range of

percentage awards granted by this Court, other courts in this Circuit, and across the country in

securities class actions. Lead Counsel respectfully submit that the fee request is fair and

reasonable in light of the result achieved in the Action, the efforts of Plaintiffs’ Counsel, and the

risks and complexity of the litigation.

       14.     For all of the reasons set forth herein, including the very favorable result obtained

and the obstacles to a greater recovery, we respectfully submit that the Settlement and Plan of




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Allocation are “fair, reasonable, and adequate” in all respects, and that the Court should approve

them pursuant to Federal Rule of Civil Procedure Rule 23(e). For similar reasons, and for the

additional reasons set forth below, we respectfully submit that Lead Counsel’s request for

attorneys’ fees and payment of Litigation Expenses, which includes the requested PSLRA

awards to Lead Plaintiffs, are also fair and reasonable, and should be approved.

II.     PROSECUTION OF THE ACTION

        A.     Factual Background of the Claims

        15.    This securities class action asserts claims arising under Sections 10(b) and 20(a)

of the Securities Exchange Act of 1934 (“Exchange Act”) on behalf of investors who purchased

or otherwise acquired SCANA common stock from October 27, 2015 through December 20,

2017, inclusive (the “Class Period”).

        16.    SCANA is an electric and gas utility company which, in 2008, began constructing

two nuclear reactors at the V.C. Summer nuclear generating station near Jenkinsville, South

Carolina (the “Nuclear Project”). Lead Plaintiffs allege that SCANA and the Individual

Defendants made a series of alleged misstatements and omissions during the Class Period

regarding the progress and oversight of the Nuclear Project. For example, Lead Plaintiffs allege

that Defendants repeatedly assured investors that, inter alia, the Nuclear Project was on budget

and on schedule (including to qualify for $1.4 billion in federal nuclear tax credits that were

crucial to defray the massive costs of the project), SCANA was making significant progress

towards completion, and the Nuclear Project was being managed prudently and transparently by

Defendants.

        17.    Contrary to these statements, however, Lead Plaintiffs allege that Defendants

knew by the start of the Class Period that the Nuclear Project suffered from a host of

fundamental problems, which made it impossible for the Nuclear Project to be completed by the


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end of 2020, as planned, due in large part to Defendants’ deficient oversight. In particular, Lead

Plaintiffs allege that, in October 2015, Defendants were presented with the adverse findings of

SCANA’s own independent expert, Bechtel Corporation (“Bechtel”), whom the Company had

retained to assess the Nuclear Project. At that time, Bechtel allegedly told Defendants that the

Project was years behind schedule—and thus would not be finished until long after the deadline

to qualify for the $1.4 billion in tax credits—and was significantly over-budget, due to many

“fundamental” engineering, construction, and management failures. According to the Complaint,

Bechtel later detailed these findings in a 130-page formal report, which it sent to SCANA in

November 2015.

       18.     Lead Plaintiffs further allege that, rather than truthfully disclose or attempt to

address Bechtel’s findings, Defendants pressured Bechtel to issue a second, watered-down report

in February 2016. Nonetheless, according to the Complaint, Defendants concealed both Bechtel

reports from the public for almost two years. At the same time, Lead Plaintiffs allege that the

Nuclear Project continued to deteriorate, as evidenced by many internal documents that

Defendants likewise concealed, while Defendants publicly continued to tout the project’s

purported substantial progress and reaffirm that it was on track to be completed by the prior

deadlines.

       19.     Lead Plaintiffs allege that, as the truth regarding the Nuclear Project’s problems

and Defendants’ fraud began to slowly emerge in late 2016 and early 2017, Defendants were

forced to ultimately abandon it in July 2017, prompting numerous civil and criminal

investigations into Defendants’ culpability and the public release of the Bechtel reports.

According to the Complaint, these and other disclosures in the summer and fall of 2017 further




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revealed the true extent of Defendants’ fraud, causing significant declines in SCANA’s stock

price and substantial damages to its investors.

        B.     Filing of the Initial Complaint and
               Appointment of Lead Plaintiffs and Lead Counsel

        20.    Beginning in September 2017, certain related class actions (Norman v. SCANA

Corp., et al., No. 3:17-CV2616-MBS; Evans v. SCANA Corp. et al., No. 3:17-cv-02683-MBS;

Fox v. SCANA Corp., et al., No. 3:17-cv-03063-MBS, and West Palm Beach Firefighters’

Pension Fund v. SCANA Corp., et al., No. 3:17-cv-03141-MBS) were filed in the United States

District Court for the District of South Carolina (the “Court”) alleging violations of the federal

securities.

        21.    On November 27 2017, West Virginia IMB and Blue Sky filed a joint motion

seeking consolidation of these related actions, appointment as co-lead plaintiffs, and approval of

their selection of lead counsel. ECF No. 9.           The same day, two other movants also filed

competing lead plaintiff motions: (i) the Puerto Rico Retirement Systems (ECF No. 8); and (ii) a

group of three individual investors, Marshall Mullins, Dominic Veneto, and Kenneth Evans

(collectively known as the “SCANA Investor Group”) (ECF No. 8). 3 On December 8, 2017, the

Puerto Rico Retirement Systems withdrew their motion. ECF No. 12. The Court held a hearing

on the remaining competing lead plaintiff motions on January 18, 2018.

        22.    By Order dated January 23, 2018, the Court: (i) consolidated the related actions

into this lead Action, to be captioned “In re SCANA Corporation Securities Litigation” and

maintained under File No. 3:17-CV-2616-MBS; (ii) appointed West Virginia IMB and Blue Sky

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       The ECF references herein are to the docket in the first-filed action, Norman v. SCANA
Corp., et al., No. 3:17-CV2616-MBS. The SCANA Investor Group filed their lead plaintiff
motion for consolidation, appointment of lead plaintiff and approval of selection of lead counsel
only on the Fox v. SCANA Corp., et al., No. 3:17-cv-03063-MBS docket. All references to
SCANA Investor Group filings are to the Fox docket.


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as Lead Plaintiffs; and (iii) approved BLB&G and Labaton Sucharow as Lead Counsel. ECF No.

49.

        C.    Lead Counsel’s Investigation and the Consolidated Class Action Complaint

        23.   After the Court appointed Lead Plaintiffs and Lead Counsel, Lead Counsel

accelerated their already ongoing investigation into potential claims and began drafting a

consolidated amended complaint. This effort required that Lead Counsel thoroughly research

relevant case law applicable to the claims asserted and Defendants’ potential defenses thereto,

while simultaneously conducting an exhaustive review of countless materials authored, issued, or

presented by SCANA and the other Defendants, including SCANA’s financial reports, hundreds

of SEC filings, conference call transcripts, press releases, investor presentations, and other

communications issued publicly during the Class Period and beyond.

        24.   Also as part of their investigation, Lead Counsel engaged in extensive informal

discovery efforts to support the Complaint’s allegations, including issuing FOIA requests to: (i)

The ORS, a South Carolina public utility watchdog that initiated a regulatory proceeding against

SCANA before the South Carolina Public Service Commission (“PSC”), SCANA’s utility

regulator; and (ii) Santee Cooper, South Carolina’s state-owned electric and water utility that

was SCANA’s junior partner on the Nuclear Project. Lead Counsel also requested documents

from The Post and Courier, a South Carolina newspaper that had obtained internal documents

from their own FOIA requests to the ORS. As a result, Lead Plaintiffs received and reviewed

1,513 documents (totaling 16,560 pages) prior to filing the Complaint on March 30, 2018, and

used information from these documents in support of the allegations in the Complaint.

        25.   Lead Counsel also contacted 200 former employees of SCANA and its lead

contractors on the Nuclear Project, including Westinghouse, and conducted 69 interviews with

potential witnesses. These interviews provided valuable insight and background that aided Lead


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Counsel in their investigation and formulating the theory of the case. Indeed, Lead Plaintiffs

relied on the accounts of two such former Westinghouse employees who worked on the Nuclear

Project in supporting the allegations of the Complaint.

       26.     Lead Counsel also retained a preeminent economic consulting firm, Global

Economics Group, to provide expert analysis relating to market efficiency, loss causation, and

damages. The work performed by Global Economics Group provided considerable aid to Lead

Counsel in drafting the Complaint.

       27.     On March 30, 2018, Lead Plaintiffs filed the Consolidated Class Action

Complaint for Violations of the Federal Securities Laws (the “Complaint”) asserting claims

against all Defendants under Section 10(b) of the Securities Exchange Act of 1934 (the

“Exchange Act”) and Rule 10b-5 promulgated thereunder, and against the Individual Defendants

under Section 20(a) of the Exchange Act. ECF No. 72. The Complaint, totaling 183 pages plus

an 88 page appendix of alleged misstatements, alleged that Defendants misrepresented the status

and their oversight of the Nuclear Project, including by assuring investors that the Nuclear

Project was on schedule and on budget, making significant progress towards completion, and

was being managed prudently and transparently by Defendants.

       28.     According to the Complaint, these statements were false and misleading because

Defendants allegedly knew from the start of the Class Period that the Nuclear Project was not

realistically going to be completed by 2020, as planned, allegedly due in large part to

Defendants’ deficient oversight. The Complaint further alleged that the price of SCANA

common stock was artificially inflated as a result of Defendants’ allegedly false and misleading

statements and omissions and declined when the truth was revealed through a series of partial

corrective disclosures on December 27, 2017, February 14, 2017, February 16, 2017, March 22,




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2017, March 23, 2017, July 27, 2017, August 2, 2017, August 4, 2017, August 9, 2017, August

10, 2017, September 7, 2017, September 21, 2017, September 26, 2017, September 29, 2017,

October 19, 2017, October 26-27, 2017, October 31, 2017 and December 20, 2017. 4

       D.      Continued Informal Discovery Following Filing of Complaint

       29.     Lead Plaintiffs continued their investigation, obtaining and reviewing voluminous

additional documents through the aforementioned FOIA requests after the filing of the

Complaint and before the Court’s March 29, 2019 Order and Opinion sustaining the Complaint.

To secure these documents, Lead Counsel had multiple meet and confer negotiations with the

ORS and Santee Cooper. In total, including the documents discussed above, Lead Plaintiffs

received and reviewed 244,233 documents (totaling 1,836,743 pages) prior to the start of formal

discovery. Notably, Lead Plaintiffs used many of these newly obtained documents to further

support their arguments in opposition to Defendants’ subsequent motions to dismiss.

       E.      Defendants’ Motions to Dismiss the Complaint

       30.     On June 4, 2018, Defendants SCANA, together with Harold Stowe, Maybank

Hagood, and James Roquemore, and Defendants Marsh, Addison, and Byrne, all filed four

separate motions to dismiss the Complaint. See ECF Nos. 92-95. Defendants argued, in large

part, that the majority of the statements were forward-looking statements about the expected

schedule and cost projections of the Nuclear Project, protected by the PSLRA safe-harbor; the

challenged statements were inactionable statements of opinion or immaterial puffery; Defendants

had no duty to disclose Bechtel’s purported opinions that there were risks and uncertainties with

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        The alleged corrective disclosures and resultant declines in SCANA stock price were
subsequently refined by Lead Plaintiffs’ economic expert, upon further analysis as the case
proceeded, as reflected in the proposed Plan of Allocation for the proceeds of the Settlement, set
forth in the Notice. See Declaration of Alexander P. Villanova Regarding: (A) Mailing of the
Notice and Claim Form; (B) Publication of the Summary Notice; and (C) Report on Requests for
Exclusion, dated April 21, 2020 (“Villanova Decl.”), Ex. 3 - A, submitted herewith.


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the Nuclear Project; Lead Plaintiffs failed to plead scienter with the heightened particularity

required by Rule 9(b) and the PSLRA; and the Complaint failed to plead loss causation because

none of the alleged disclosures corrected Defendants’ alleged misstatements.

        31.     On August 9, 2018, Lead Plaintiffs filed their omnibus opposition to Defendants’

four separate motions to dismiss. ECF No. 105. Lead Counsel made every effort to coordinate

and streamline their drafting of Lead Plaintiffs’ motion to dismiss opposition brief. For example,

because BLB&G took the lead in drafting the majority of the amended complaint, BLB&G was

primarily responsible for drafting the facts, scienter, and loss causation sections of Lead

Plaintiffs’ opposition brief, while Labaton Sucharow was primarily responsible for researching

and drafting the sections addressing Defendants’ various falsity, materiality, safe harbor, and

other actionability legal arguments, which accounted for the majority of the opposition brief.

Lead Counsel took a similarly coordinated and collaborative approach to briefing throughout

their litigation of this case.

        32.     In their opposition, Lead Plaintiffs argued, inter alia, that: the Complaint

sufficiently pled the falsity of Defendants’ statements and omissions related to the Nuclear

Project, including that Defendants had a duty to disclose Bechtel’s adverse findings and other

negative internal information known to Defendants; Defendants’ statements were not

inactionable opinions, but instead misrepresentations of existing facts concerning the status and

their oversight of the Nuclear Project; even if certain statements were opinions, they were

actionable in that they lacked a reasonable basis when made and misleadingly omitted

contradictory, material facts, including Bechtel’s findings; Defendants’ omissions of such facts

were material; Defendants’ statements touting the Nuclear Project’s progress and Defendants’

purported “prudent” and “transparent” oversight and omissions were material, rather than mere




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puffery; Defendants’ statements, particularly those concerning the projected completion dates,

costs, and eligibility for federal nuclear production tax credits of the Nuclear Project, were not

forward-looking, and even if any were forward-looking, they were not protected by the PSLRA

safe harbor because Defendants’ risk warnings did not provide meaningful cautionary language;

Defendants did not adequately disclose the risks and problems associated with the Nuclear

Project under the truth-on-the-market or bespeaks caution defenses; Defendants’ statements were

made with the requisite level of scienter, contrary to Defendants’ non-culpable explanations that,

for example, they reasonably relied on their lead contractors’ schedule and budget estimates; and

Lead Plaintiffs adequately pled loss causation because each of the alleged corrective disclosures

revealed new information about Defendants’ fraud.

       33.     On September 18-19, 2018, Defendants filed their reply memoranda of law in

further support of their motions to dismiss. ECF Nos. 121-24. Lead Plaintiffs carefully reviewed

these submissions and evaluated whether a sur-reply was necessary before concluding that the

arguments could be addressed at oral argument.

       F.      The Court Denies Defendants’ Motion to Dismiss

       34.     On March 4, 2019, Lead Counsel participated in oral argument before the Court

on Defendants’ motions to dismiss. ECF No. 141. On March 29, 2019, the Court issued an Order

and Opinion denying Defendants’ motions to dismiss, except that the Court granted the motions

to the narrow extent they sought dismissal based on claims for violation of Item 303. See In re

SCANA Corp. Sec. Litig., No. 3:17-2616-MBS, 2019 WL 1427443 (D.S.C. Mar. 29, 2019).

Regarding falsity, among other things, the Court agreed with Lead Plaintiffs that the Complaint

adequately alleged that Defendants misrepresented SCANA’s ability to complete the Nuclear

Project by the end of 2020, stating that the “statements were contradicted by Bechtel’s

investigation, Westinghouse’s monthly progress reports that detailed recurring problems . . . as


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well as Westinghouse’s own documented failure to make timely progress in construction of the

Project.” Id. at *7. The Court also found that the Complaint adequately alleged that “Defendants

falsely assured investors of transparency regarding the Project, misrepresented their involvement

in and oversight of the Project, recklessly refused to implement Bechtel’s and Santee Cooper’s

recommendations, and then misrepresented the state of those affairs to investors.” Id. at *8.

        35.     Additionally, in rejecting Defendants’ arguments that certain statements are

inactionable opinion or puffery as a matter of law, the Court found that in the Complaint, Lead

Plaintiffs “plausibly allege that the identified misstatements expressed certainty rather than an

uncertain view of a fact, and thus cannot be described as opinions or puffery.” Id. at *9.

        36.     On scienter, the Court sustained Lead Plaintiffs’ scienter allegations, finding that

the Complaint “plausibly demonstrates that Individual Defendants acted at least recklessly and

possibly deliberately.” Id. at *11. Among other things, the Court found that “the failure to

disclose the Bechtel Reports and other information regarding the viability of the Project are

strong evidence of scienter” and that Lead Plaintiffs’ “plausibly allege Defendants knew that the

monthly progress rate at the Project never tipped 0.8%, which means that there was no material

improvement in progress throughout the class period.” Id. The Court also ruled that “the court

cannot say that the facts as a whole more plausibly suggest that Defendants acted innocently or

negligently, rather than with intent or sever recklessness.” Id.

        37.     The Court also found that the allegations adequately pled loss causation,

dismissing Defendants’ argument that the alleged corrective disclosures failed to reveal the truth

about any alleged misrepresentations. In particular, the Court held that “Plaintiffs plausibly

allege specific public disclosures and subsequent reductions in the value of SCANA’s stock as

the result of ‘the relevant truth . . . leak[ing] out.’” Id. at *12.




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       38.     The Court sustained the Complaint’s Section 20(a) control person liability claims

against the Individual Defendants. Id.

       39.     However, the Court granted Defendants’ motions to dismiss in part with respect

to Lead Plaintiffs’ claim under Item 303 of SEC Regulation S-K that SCANA failed to disclose a

materially adverse trend or uncertainty regarding the Nuclear Project. Specifically, the Court

held that, based on other authorities within the Fourth Circuit, “failure to comply with Item 303

does not give rise to liability under Section 10(b) or Rule 10b-5,” thereby dismissing this claim

on legal grounds. Id. at *11.

       40.     The Court’s comprehensive analysis focused on the key issues in the Action and

provided the Parties with valuable insight into the issues that allowed them to continue to assess

honestly the merits of their respective cases.

       41.     Defendants answered the Complaint on June 14, 2019. ECF Nos. 153-156. The

Parties then proceeded into formal discovery. Defendants expressed their position that the

Court’s order on Defendants’ motions to dismiss had to take all the allegations in the Complaint

as true. Defendants contended that the evidence revealed through the discovery process would

absolve them from liability here.

       G.      Discovery

       42.     Following the Court’s Order and Opinion on Defendants’ motions to dismiss, on

May 21, 2019 the Parties met and conferred concerning a proposed plan of discovery. On May

31, 2019, the Parties filed their Joint Rule 26(f) Proposed Discovery Plan and Additional

Information Required by Local Civil Rule 26.03. ECF No. 148. The Parties also submitted a

Joint Stipulation and Scheduling Order on May 31, 2019. ECF No. 149. On June 6, 2019, the

Court issued a “Scheduling Order” (ECF No. 151), that set forth deadlines related to fact and

merits discovery, class certification, among others. The Scheduling Order was later amended,


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upon motion of the Parties, by a “First Amended Scheduling Order”, on August 13, 2019. ECF

No. 181.

       43.     As described further below, Lead Counsel conducted extensive discovery in

litigating this Action, including: the review of documents; defending, and/or otherwise

participating in seven depositions in connection with class certification; drafting and responding

to interrogatories and discovery requests; extensive meet and confer negotiations between the

Parties with respect to Lead Plaintiffs’ document requests to Defendants and consulting with

Lead Counsel’s expert in the preparation of expert reports.

       44.     As discussed above, Lead Plaintiffs received and reviewed over 1,500 documents

(totaling over 16,500 pages) through FOIA and other informal investigatory requests prior to

filing their Complaint. After filing the Complaint, Lead Plaintiffs received and reviewed an

additional 230,778 documents (totaling nearly 1.7 million pages) through FOIA requests in 2019.

In total, Lead Plaintiffs received and reviewed 244,233 documents (totaling 1,836,743 pages)

through FOIA and other informal requests prior to the start of formal discovery. Further, as part

of its investigation, Lead Plaintiffs also obtained and reviewed numerous deposition and hearing

transcripts of testimony from current and former employees and third-party witnesses in related

proceedings against SCANA, including from the regulatory action brought by the ORS and other

entities before the PSC.

       45.     Once formal discovery began in June 2019, Lead Plaintiffs served on Defendants

initial disclosures pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure and

numerous document requests. Lead Plaintiffs subsequently engaged in multiple meet and confers

with Defendants related to these document requests. Simultaneously, Lead Counsel responded to

Defendants’ document requests and interrogatories, including by making document productions




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on Lead Plaintiffs’ behalves, and participated in meet and confers regarding Defendants’

discovery requests. In connection with class certification, Lead Counsel defended two separate

30(b)(6) depositions of representatives from each of the co-lead Plaintiffs, West Virginia IMB

and Blue Sky, and also defended the deposition of Lead Plaintiffs’ class certification expert,

Chad Coffman. In addition, Lead Counsel participated in four depositions of representatives

from Lead Plaintiffs’ investment managers.

              1.      Formal Document Discovery

       46.    Developing the substantial body of evidence needed to prove the alleged

violations of the federal securities laws required Lead Plaintiffs to undertake robust document

discovery efforts. Lead Counsel ultimately obtained and analyzed approximately 565,507

documents, totaling 5,215,238 pages, in connection with formal discovery.

                      (a)    Lead Plaintiffs’ Document Discovery Directed to Defendants

       47.    Pursuant to the Court’s Scheduling Order, formal discovery began on June 9,

2019. Shortly thereafter, on June 14, 2019, Lead Plaintiffs served their first request for the

production of documents on all Defendants (“Lead Plaintiffs’ First RFP”), which consisted of 58

document requests.

       48.    On July 15, 2019, each of the Defendants served their objections and responses to

Lead Plaintiffs’ First RFP. Throughout July and August 2019, the Parties negotiated the scope of

Defendants’ document production in response to Lead Plaintiffs’ First RFP through multiple

telephonic meet and confer sessions and email communications. For example, during a

telephonic meet and confer on July 2, 2019, Defendants informed Lead Plaintiffs that Defendants

had made extensive prior document productions in multiple related criminal, regulatory, and civil

proceedings against SCANA that purportedly overlapped substantially with Lead Plaintiffs’

document requests. Defendants then raised the possibility of re-producing these prior document


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productions to Lead Plaintiffs to satisfy a majority of the requests in Lead Plaintiffs’ First RFP.

On July 22, 2019, in response to Lead Plaintiffs’ request, Defendants provided Lead Plaintiffs

with extensive additional information regarding Defendants’ prior document productions,

including, notably, to the SEC and to the U.S. Attorney’s Office for the District of South

Carolina (“USAO”) in response to document subpoenas served in the Department of Justice’s

(“DOJ”) criminal investigation, which Lead Plaintiffs subsequently analyzed.

       49.     On August 1, 2019, the Parties met and conferred again regarding Defendants’

document production efforts, including SCANA’s and Defendant Addison’s responses and

objections to Lead Plaintiffs’ First RFP. During the call, the Parties also continued their

discussions regarding Defendants’ proposal to respond to a majority of the requests in Lead

Plaintiffs’ First RFP by re-producing its most inclusive prior document productions in related

actions against SCANA. Lead Plaintiffs requested certain additional information regarding these

prior document productions and agreed in principle to Defendants’ proposal, subject to these

follow-up requests. On August 5, 2019, the Parties additionally met and conferred regarding

Defendant Byrne’s and Marsh’s responses and objections to Lead Plaintiffs’ First RFP, including

their prior productions in related government proceedings.

       50.     Following these meet and confers, in August 2019, the Parties continued their

discussions regarding the scope of Defendants’ document productions in response to Lead

Plaintiffs’ First RFP. For example, on August 22, 2019, in response to Lead Plaintiffs’ follow-up

requests on the meet and confers, Defendants provided by email additional information regarding

SCANA’s prior document productions and other issues related to certain requests in Lead

Plaintiffs’ First RFP. Shortly thereafter, on August 29, 2019, the Parties reached agreement on

Defendants’ proposal that they could respond to most of Lead Plaintiffs’ document requests by




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producing those documents that Defendants produced to the DOJ in its related criminal

investigation, subject to Lead Plaintiffs’ reservation of rights to make additional requests after

receiving and reviewing this initial production.

       51.     On September 9, 2019, Defendants made their initial document production,

consisting of 565,507 documents, totaling 5,215,238 pages, which were previously produced to

the USAO as part of the DOJ’s criminal investigation into SCANA. Lead Counsel and their staff

attorneys subsequently worked to review and synthesize these documents in preparation for later

briefing and depositions. These documents, consisted of, inter alia: internal communications

between SCANA employees, including Defendants, regarding the Nuclear Project, the Bechtel

reports, and Westinghouse’s bankruptcy; communications with Santee Cooper, Westinghouse,

and other contractors and sub-contractors working on the Nuclear Project concerning the Nuclear

Project’s progress, schedule, budget, and related issues; documents and communications

regarding SCANA’s submissions concerning the Nuclear Project to the ORS and PSC; Nuclear

Project meeting minutes and related presentations and reports; internal reports and analyses by

SCANA, Santee Cooper, and the lead contractors, notably Westinghouse, related to completion

of the Nuclear Project; and personnel files and similar documents related to the Nuclear Project,

including employee surveys and feedback related to the Nuclear Project.

                       (b)    Lead Plaintiffs’ Review of Documents and Transcripts in
                              Related Actions

       52.     Lead Counsel obtained and reviewed numerous hearing transcripts and deposition

transcripts of current and former SCANA employees and officers and third-party witnesses taken

in related proceedings against SCANA.

       53.     In November 2018, Lead Counsel observed the live broadcast of the three-week

hearing before the PSC and prepared daily summaries of the proceedings and testimony.



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Approximately 38 witnesses testified in this proceeding, including Defendants Stephen Byrne

and Jimmy Addison.

       54.     Lead Counsel also revised the daily hearing transcripts of the PSC hearing and

created digests of the testimony of relevant witnesses. Lead Counsel also reviewed the 180

exhibits used throughout the PSC hearing, including all documents and testimony referenced in

filings with the PSC during the hearing.

       55.     Further, Lead Counsel reviewed numerous deposition transcripts (and related

document exhibits) of Defendants Jimmy Addison, Stephen Byrne, and Kevin Marsh, as well as

other relevant SCANA employees, which were taken in the ORS proceeding and other, related

ratepayer actions.

       56.     Finally, Lead Counsel analyzed numerous additional transcripts of testimony by

SCANA employees before the PSC taken during 2015 to 2018 regarding SCE&G’s rate increase

requests and created digests of relevant testimony.

                      (c)     Defendants’ Document Discovery

       57.     Concurrent with Lead Plaintiffs’ efforts to obtain and review documents relevant

to their case, on June 25, 2019, Defendants served on Lead Plaintiffs their first request for

production of documents, consisting of 27 document requests concerning, inter alia, Lead

Plaintiffs’ investment practices, investment managers, trading history, and knowledge of

SCANA and SCANA securities. Defendants served a second set of document requests on Lead

Plaintiffs on July 3, 2019. Lead Counsel thereafter drafted their responses and objections to

Defendants’ document requests, and engaged in a meet and confer process that included

numerous telephonic meet and confers and calls (including on July 30, 2019 and August 2,

2019), emails, and letters, as well as substantial attorney time. Ultimately—while simultaneously

continuing to negotiate with Defendants concerning the scope of their document production and


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then beginning to review that initial document production so as to maintain the aggressive

discovery schedule—Lead Plaintiffs produced over 2,120 documents, totaling 146,963 pages,

each of which required Lead Counsel’s review for relevance and privilege.

       58.    Defendants also served Lead Plaintiffs with two sets of interrogatory requests, one

on June 25, 2019 and another on August 27, 2019. Lead Plaintiffs served responses and

objections to Defendants’ interrogatories on July 25, 2019 (which Lead Plaintiffs subsequently

amended on August 12, 2019) and September 26, 2019, respectively.

              2.      Document Review

       59.    As Lead Counsel received documents in response to Lead Plaintiffs’ informal

discovery (e.g., FOIA) requests from the ORS, Santee Cooper and other sources, and document

requests to Defendants, they needed to review and analyze those documents. In doing so, Lead

Counsel looked for ways to keep costs to a minimum, as well as to streamline their review and

analysis. In that regard, BLB&G electronically hosted the document productions, and Lead

Counsel employed an analytics technology called Relativity Active Learning (“RAL”). Using

RAL, attorney coding decisions (for instance, whether the documents are “relevant” or “not

relevant”) are applied to certain documents, ingested by the active learning model, and then

applied by the system in order to identify and prioritize more relevant documents to the

reviewers as the review progresses. When reviewing the documents identified by RAL as the

more relevant documents, the attorneys were tasked with making several analytical

determinations as to the documents’ importance and relevance. Specifically, they applied coding

to thousands of documents covering a variety of important case-related topics and determined

whether the documents were “hot,” “highly relevant,” “relevant,” “not useful,” “irrelevant,” and

“adverse.”




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       60.     In addition to identifying and coding relevant documents, Lead Counsel used the

documents to construct organizational charts that categorized SCANA personnel in order to

determine who would possess information relevant to Lead Plaintiffs’ claims and to prioritize

witnesses for eventual depositions. Lead Counsel also constructed timelines and linked

documents to Defendants’ Class Period representations and the alleged corrective disclosures.

       61.     In addition to reviewing the relevant documents identified by RAL, attorneys ran

targeted searches using key individuals’ names or other keywords related to important case

issues to identify and review additional relevant documents.

       62.     Lead Counsel also drafted chronologies and prepared compilations of key

documents related to the Nuclear Project for purposes of, inter alia, drafting the Complaint,

opposing Defendants’ motions to dismiss, developing its discovery and litigation strategy, and

preparing for the two mediations, including locating and compiling: all monthly project review

meeting minutes during the Class Period, as well as related communications, correspondence,

and attachments; important documents related to Bechtel’s assessment of the Nuclear Project;

and important documents and communications related to SCANA’s internal analysis of the

Nuclear Project’s schedule and costs performed by the Company’s estimate at completion team.

       63.     In Lead Counsel’s judgment, maintaining an aggressive discovery schedule was

important to the successful prosecution of the Action. However, particularly given the volume of

documents, Lead Counsel’s ability to do so required the assistance of staff attorneys to review

documents and help prepare for depositions and mediation. These attorneys were valued and

integral members of the team, crucial in identifying key documents for purposes of drafting the

Complaint, opposing Defendants’ motions to dismiss, drafting mediation statements, and

developing the litigation strategy and theories. Among other things, these attorneys also assisted




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with the review of deposition transcripts of Individual Defendants and other key witnesses in

related actions against SCANA, conducted critical analyses of the documents (including drafting

chronologies and memoranda regarding key issues in the case, as discussed above), identified

possible deposition witnesses, and prepared deposition kits. They prepared chronologies,

compendiums of key players, master exhibit lists and other such compilations of key documents,

and analyses of hot documents, which they continually updated and refined as the team’s

knowledge of issues expanded.

       64.     Lead Counsel often asked for follow-up research into particular topics of interest

that staff attorneys presented throughout their review. Through regular meetings and discussions,

Lead Counsel ensured that these attorneys understood the developing nature of the evidence and

focused their review on the key issues and events in the case.

       65.     Throughout their review, the attorneys also analyzed the documents for several

other issues related to the adequacy and scope of the document productions, including the

documents obtained by Lead Counsel through their informal discovery efforts (in particular, their

FOIA requests to the ORS and Santee Cooper). For example, the attorneys also reviewed the

productions to determine whether they substantively tracked what had been agreed to be

produced in response to document and FOIA requests.

       66.     Finally, the attorney review team prepared meaningful work product, including

chronologies, compendiums of key players, master exhibit lists and other such compilations of

key documents, and analyses of hot documents, which they continually updated and refined as

the team’s knowledge of issues expanded. At all the times, the staff attorneys were under the

direct supervision of the attorneys at Lead Counsel who had principal oversight and day-to-day

management of the Action.




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       67.     The attorneys who undertook discovery in this Action have significant credentials

and experience and have engaged in substantive work at Lead Counsel for years. In this case and

others they have served as valuable members of Lead Counsel’s litigation teams, and several

have worked with us on multiple cases.

       H.      Lead Plaintiffs’ Motion for Class Certification
               and Class Certification Discovery

       68.     On June 28, 2019, Lead Plaintiffs filed their motion to certify the class, appoint

class representatives, and appoint class counsel, along with an expert report in support of their

motion from Chad Coffman, addressing market efficiency and common damages methodologies.

ECF Nos. 165-66. Following Lead Plaintiffs’ motion for class certification, Defendants noticed

and took the depositions of seven individuals, including representatives of each of the Lead

Plaintiffs pursuant to Rule 30(b)(6), four representatives from Lead Plaintiffs’ relevant

investment managers, and Lead Plaintiffs’ expert, Mr. Coffman.

       69.     On August 18, 2019, Defendants deposed Lead Plaintiffs’ representative Craig

Slaughter, Executive Director and Chief Investment Officer of West Virginia IMB. Defendants

focused on topics specifically concerning West Virginia IMB’s investment management

practices, its investments in SCANA securities, and its knowledge of the present Action, and

attempted to establish that Lead Plaintiff was an inadequate class representative.

       70.     On September 13, 2019, Defendants took the deposition of Harmen Nieuwenhuis,

Lead Plaintiffs’ representative from Blue Sky, and focused on issues similar to those explored

with Mr. Slaughter.

       71.     On September 25, 2019, Defendants filed their memorandum of law in opposition

to Lead Plaintiffs’ motion for class certification, along with an expert report from Christopher

James, Ph.D. ECF Nos. 195. Defendants raised several arguments in opposition to class



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certification, including that: (i) Lead Plaintiffs’ investment managers, who used algorithmic

trading models to make their investment decisions, allegedly did not rely on the integrity of the

market price because they would have purchased SCANA securities even if they had known of

the fraud; (ii) Lead Plaintiffs could not represent the class because they allegedly learned of the

fraud before the Class Period ended in December 2017, but still continued to purchase SCANA

stock; and (iii) the Class Period was too long and should end on (a) July 31, 2017, when SCANA

announced its abandonment of the Nuclear Project, which Defendants argued completely cured

the alleged misrepresentations, or (b) alternatively, on September 27, 2017, when, inter alia,

news articles disclosed the existence of, and Defendants’ failure to disclose, the first Bechtel

report.

          72.   Defendants’ opposition brief relied heavily on Dr. James’ expert report for

Defendants’ central argument—that the proposed Class Period was too long. ECF No. 195-9. Dr.

James argued, inter alia, that the Class Period defined by Lead Plaintiffs was: (i) inconsistent

with an efficient market; and (ii) gave rise to inevitable conflicts of interest between purchasers

who bought SCANA stock before the abandonment of the Nuclear Project and those who

purchased afterwards.

          I.    The Parties Agree to Settle the Action

          73.   Lead Plaintiffs achieved the Settlement through fair, honest, and vigorous

negotiations, and with the guidance and input of experienced and informed counsel and the

Mediator. See generally Declaration of Layn R. Phillips, dated April 19, 2020, submitted

herewith as Ex. 4

          74.   In the Spring of 2019, the Parties agreed to participate in a settlement mediation

and to retain retired U.S. District Court Judge Layn Phillips as the Mediator. The Parties

participated in a full-day mediation on May 17, 2019. In advance of the mediation, the Parties


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exchanged and submitted to the Mediator detailed mediation opening and reply statements. No

agreement was reached at that time.

       75.     The Parties eventually agreed to a second mediation, which was held on October

2, 2019. Two rounds of mediation statements were again exchanged and submitted to Judge

Phillips in advance of the second mediation. A resolution was ultimately reached at the end of

the second mediation. The Parties finalized and executed a Term Sheet on October 3, 2019.

       76.     On December 20, 2019, following extensive, arm’s-length negotiations, the

Parties executed the Stipulation, which embodies the final terms and conditions of the Parties’

agreement to settle all claims asserted in the Action, and related claims, in exchange for payment

of $192,500,000, subject to the approval of the Court. On January 7, 2020, Lead Plaintiffs filed

a motion for preliminary approval of the Settlement, which included the Stipulation and

Agreement of Settlement as an exhibit. See ECF Nos. 214, 214-2.

       77.     On February 11, 2020, the Court issued an order preliminarily approving the

Settlement and providing for notice of the Settlement to the Settlement Class (the “Preliminary

Approval Order”). ECF No. 219. Among other things, the Preliminary Approval Order: (i)

preliminarily approved the Settlement, as embodied in the Stipulation, subject to further

consideration at the Settlement Hearing; (ii) directed that notice of the Settlement be mailed to

Settlement Class Members and be published in the Wall Street Journal and disseminated using

PR Newswire; (iii) scheduled the Settlement Hearing for June 17, 2019 at 2:00 p.m.; and

(iv) established the procedures and deadlines for Settlement Class Members to submit claims,

request exclusion, and file objections to the Settlement, Plan of Allocation, or Lead Counsel’s

fee and expense application. Id. at ¶¶ 4, 5, 7, 14-20.




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III.     RISKS OF CONTINUED LITIGATION

         78.   As summarized below, Lead Counsel respectfully submit that there was

significant risk in prosecuting, and continuing to prosecute, this Action. From the time that Lead

Counsel agreed to take on the case, settlement was by no means inevitable and certainly not at

the high level ultimately achieved. While Lead Plaintiffs prevailed on Defendants’ motions to

dismiss, the benefits of the Settlement must be weighed against the risks presented by continued

litigation of the Action, including, as discussed below, the serious risks of establishing

Defendants’ liability and damages.

         A.    Lead Plaintiffs Faced Substantial Risks in Proving Defendants’ Liability

         79.   Here, Defendants would have vigorously contested their liability with respect to

every element of Lead Plaintiffs’ claims. Even though Lead Plaintiffs prevailed with respect to

the motions to dismiss, a substantial risk existed that the Court would find that Lead Plaintiffs

failed to establish liability or damages as a matter of law at summary judgment, that Defendants

would succeed in a Daubert challenge to Lead Plaintiffs’ expert’s analysis, or—if the Court were

to permit the claims to proceed to trial—that a jury (or appeals court) would rule against Lead

Plaintiffs.

         80.   While Lead Plaintiffs and Lead Counsel believe they advanced strong claims on

the merits, they nonetheless acknowledge that Defendants’ arguments posed very credible threats

to Lead Plaintiffs’ ability to ultimately succeed. Defendants would hold Lead Plaintiffs to their

burden of proof on all elements of securities fraud, and establishing the Settlement Class’s

claims would require the jury to make complicated assessments of credibility on several complex

and hotly contested factual disagreements. For instance, proving securities fraud required that

Lead Plaintiffs demonstrate that Defendants had an intent to deceive or otherwise acted with

severe recklessness nearing such intent. While Lead Counsel believe they could marshal


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considerable evidence in support of this requirement, there is no way to know how the Court on

summary judgment, or a jury at trial, would decide.

                1.      Falsity, Materiality, and Actionability

        81.     Lead Plaintiffs would have faced substantial challenges in proving that

Defendants’ statements were materially false and misleading when made. Indeed, there were

significant risks associated with proving the actionability of many of Defendants’ statements. In

particular, many of Defendants’ statements, including those concerning the projected completion

dates, costs, and eligibility for federal nuclear production tax credits of the Nuclear Project, were

arguably forward-looking statements of the type that are immune under the PSLRA safe harbor.

Many of the alleged misstatements were at risk of being found to be forward-looking because

they inherently dealt with SCANA’s future projections, including when the Nuclear Project was

going to be completed, whether this would be in time for SCANA to qualify for the critical

nuclear tax credits, and how much the total cost of completion would be at that time.

        82.     Moreover, Defendants would have also vigorously argued that these forward-

looking statements were accompanied by meaningful cautionary language regarding the Nuclear

Project’s risks, including specific risk warnings concerning the Nuclear Project’s schedule and

costs that repeatedly appeared in the Company’s press releases, quarterly and annual SEC filings,

and in the Company’s regulatory submissions. According to Defendants, such extensive risk

disclosures rendered non-actionable Defendants’ failure to disclose Bechtel’s independent

adverse assessment of the Nuclear Project, which is at the heart of the Complaint’s allegations.

Further, Defendants would have continued to argue that such forward-looking statements were

also protected by the PSLRA safe harbor because they were not made with actual knowledge of

their falsity, for the reasons set forth in the scienter section below.




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       83.      Defendants would have also continued to argue that other allegedly false

statements, such as those regarding the Nuclear Project’s positive progress and Defendants’

purported “transparency” and “prudent” oversight of the Nuclear Project, were equally non-

actionable statements of opinion or non-actionable puffery. In order to establish that an opinion

is actionable, Defendants argued that Lead Plaintiffs would have had to establish that the

Individual Defendant offering the opinion did not actually believe that that the statement was

false at the time the statement was made. See Omnicare, Inc. v. Laborers Dist. Council Const.

Indus. Pension Fund, 135 S. Ct. 1318 (2015).

       84.      Defendants would likely have continued to argue that Lead Plaintiffs would not

be able to establish that the Individual Defendants did not actually believe that their opinion

statements were false or that Defendants lacked any reasonable basis for opining that, inter alia,

progress was being made on the Nuclear Project for numerous reasons, including because

Defendants reasonably relied on the assurances of substantial progress on the project and the

schedules and costs estimates provided by Westinghouse, the lead contractor on the Nuclear

Project. Accordingly, Lead Plaintiffs would have to overcome significant hurdles in proving that

Defendants did not actually believe, or lacked any reasonable basis, for opining that progress was

being made on the Nuclear Project and that they were prudently managing the Nuclear Project’s

construction.

       85.      Moreover, Defendants would have continued to advance their arguments that the

omissions of Bechtel’s adverse findings were non-actionable because, inter alia, Defendants had

no duty to disclose what SCANA understood at that time to be the preliminary, speculative

opinions of a third party who had limited information and data about the Nuclear Project.

Further, Defendants would have continued to contend that they had no duty to disclose Bechtel’s




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adverse findings because they were contradicted by the information provided to Defendants by

Westinghouse, which had assumed the risk of cost overruns on the Nuclear Project by entering

into a contractual amendment with SCANA (the “EPC Amendment”) at the start of the Class

Period. In particular, Defendants also would have continued to argue that this EPC Amendment

had addressed many of the management and other issues that Bechtel had identified in its

assessment, including by bringing a new contractor onto the project (Fluor), thereby rendering

Bechtel’s adverse findings obsolete. Defendants also would have continued to highlight that

Bechtel’s conclusions were unreliable because it was motivated in part by its own agenda to

secure a place as a contractor on the Nuclear Project. Finally, Defendants also would have

continued to maintain that they had no duty to disclose the Bechtel reports because they were

attorney-client privileged work product, given that Bechtel was retained by SCANA’s outside

counsel to assess the Nuclear Project for litigation purposes against Westinghouse and the other

contractors. Accordingly, Lead Counsel faced substantial risks in establishing the falsity and

actionability of Defendants’ statements and omissions.

              2.      Scienter

       86.    Lead Plaintiffs would also have also faced significant challenges in proving that

Defendants made the alleged false statements with the intent to mislead investors or were

severely reckless in disregarding their statements’ falsity. For example, as discussed above,

Defendants have contended that the Individual Defendants reasonably relied on the schedule,

cost estimates, and other positive information about the Nuclear Project’s progress provided to

SCANA by Westinghouse, its lead contractor on the Nuclear Project. Further, Defendants also

have and would have continued to argue that they believed in good faith that the EPC

Amendment entered into between SCANA and Westinghouse, just days before the start of the

Class Period, fixed many of the problems with the Nuclear Project identified to SCANA by


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Bechtel in its assessment. Thus, in order to prove scienter, Lead Plaintiffs would have to

establish, inter alia, that Defendants knew that Westinghouse did not reasonably believe that it

could complete the Nuclear Project on schedule and on budget, contrary to its continued

representations to SCANA.

       87.     Moreover, Defendants would also have continued to challenge the accounts of

two former Westinghouse employees relied on in the Complaint as support for Defendants’

knowledge of the schedule delays and cost overruns at the Nuclear Project. Specifically,

Defendants would have continued to maintain that these statements were mere opinions of

Westinghouse employees, who had their own agendas with respect to the Nuclear Project, and

thus cannot be relied on to support the Defendants’ scienter. Likewise, Defendants would likely

attempt to discredit the testimony of a key SCANA whistleblower relied on in the Complaint to

support Defendants’ knowledge of the Nuclear Project’s failures and intent to defraud investors,

as unreliable and motivated by her own personal issues. Accordingly, for all these reasons,

proving scienter would have posed a significant risk if the litigation were to proceed.

               3.      Loss Causation

       88.     Lead Counsel expect that Defendants would have vigorously persisted in arguing

that much (if not all) of the declines in SCANA’s stock prices were not attributable to risks

allegedly concealed by Defendants’ false and misleading statements and omissions. In order to

prove damages from those statements, a class representative bears the burden of establishing

“loss causation”—that defendants’ false and misleading statements caused their alleged loss. See

Dura Pharm., Inc. v. Broudo, 544 U.S. 336, 345-46 (2005) (plaintiffs bear the burden of proving

“that the defendant’s misrepresentations ‘caused the loss for which the plaintiff seeks to

recover’” (quoting 15 U.S.C. § 78u-4(b)(4))). Lead Plaintiffs attempted to meet this burden

through their allegations that Defendants’ fraud was gradually revealed to the investing public


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through a series of partial corrective events that materialized risks concealed by Defendants’

alleged fraud. Lead Plaintiffs’ damages expert estimated maximum class-wide aggregate

damages of approximately $1.5 billion based on 18 alleged corrective events.

       89.     In response, however, Defendants would have continued to argue that the alleged

corrective disclosures did not correct the alleged misstatements and omissions for a variety of

reasons, including because many of the allegedly concealed risks about the Nuclear Project were

previously disclosed and known to the market. Notably, Defendants would have maintained their

primary loss causation argument, that the Court should end the Class Period no later than July

31, 2017, when SCANA announced its abandonment of the Nuclear Project—nearly five months

before the end of the alleged Class Period. Defendants would continue to contend that by that

date (if not earlier), the risks related to the completion of the Nuclear Project were fully disclosed

by the abandonment announcement and, thus, any misstatements related to the project’s status

and oversight were completely corrected.

       90.     Specifically, on July 31, 2017, SCANA announced that it “expected that the cost

of completing the Nuclear Project would ‘materially exceed’ prior estimates by Westinghouse,”

that “the reactors would not be complete in time to receive the planned tax credits,” and there

were “significant challenges” to completing the Nuclear Project. Therefore, Defendants would

have a compelling argument that this disclosure effectively severed the causal link between

Defendants’ misstatements and omissions and Lead Plaintiffs’ alleged injuries because it fully

disclosed all of the relevant concealed information regarding the Nuclear Project’s progress,

schedule, and costs and Defendants’ poor oversight and lack of transparency.

       91.     In the alternative, Defendants argued, and would have continued to do so, that at a

minimum, the Class Period should end no later than September 27, 2017, when the market




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learned of the existence of Bechtel’s original report and its adverse findings, as well as

Defendants’ attempts to cover up this report. According to Defendants, such information fully

disclosed to investors the alleged fraud, which centers on Defendants’ failure to disclose

Bechtel’s adverse findings that contradicted Defendants’ public statements. If this argument were

successful, it would eliminate numerous other subsequent corrective disclosures that Lead

Plaintiffs had alleged.

       92.     If Defendants prevailed on these arguments at class certification, summary

judgment, or trial, maximum recoverable damages would have been significantly reduced.

Indeed, according to Defendants, if the Class Period concluded on July 31, 2017 and certain

earlier corrective disclosures contested by Defendants for various other reasons were also

dismissed, maximum recoverable damages could have been as low as $200 million.

       93.     Lead Plaintiffs would also face significant challenges in establishing loss

causation due to Defendants’ arguments regarding the purported lack of significant stock price

reaction when the allegedly undisclosed risks related to the Nuclear Project were first revealed to

the public. Specifically, with respect to the first alleged corrective disclosure in December 2017,

Defendants would continue to advance the argument that SCANA’s price did not react in a

statistically significant way after Toshiba (Westinghouse’s parent company) disclosed a multi-

billion dollar impairment related to its nuclear construction business on December 27, 2016.

       94.     Defendants had contended that news outlets such as Bloomberg and the Wall

Street Journal connected the anticipated write-down directly to the allegedly undisclosed risks

facing the Nuclear Project and SCANA’s recent schedule revision and cost increases. Yet,

according to Defendants, SCANA’s stock price did not react to the disclosure of this information

in a statistically significantly way on December 28, 2016. Accordingly, although Lead Plaintiffs




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had credible responses to these and other loss causation arguments advanced by Defendants,

Lead Plaintiffs faced a significant risk that it would not be able to establish loss causation.

        B.     Risks of Prevailing at Class Certification

        95.    While Lead Counsel believed that Defendants’ substantive arguments in

opposition to class certification did not pose a serious issue, there was substantial risk that the

Court (or the 4th Circuit on a Rule 23(f) interlocutory appeal) would narrow the Class Period.

As previously noted, Defendants argued that the Class Period should end on July 31, 2017 –

almost five months earlier than Lead Plaintiffs sought – when SCANA announced the

abandonment of the Nuclear Project, or, in the alternative, no later than September 27, 2017,

when the market learned of the existence of the original Bechtel report and Defendants’ failure to

disclose it.

        96.    Had the Court accepted Defendants’ arguments that the Class Period should end

on July 31, 2017 and earlier alleged corrective disclosures be dismissed, damages in the case

would have been reduced by more than 86%, which would have substantially reduced the value

of the case. If the Court accepted Defendants’ alternative argument that the Class Period should

end on September 27, 2017—which was compelling given that the disclosure revealed new

information about Defendants’ knowledge and concealment of Bechtel’s original adverse

findings, which were at the heart of Lead Plaintiffs’ claims—that also would have eliminated

numerous subsequent corrective disclosures and thus greatly reduced recoverable damages in the

case.

        C.     Risk of Appeal

        97.    Finally, even if Lead Plaintiffs prevailed at summary judgment and at trial,

Defendants would likely have appealed the judgment—leading to many additional months, if not

years, of further litigation. On appeal, Defendants would have renewed their numerous


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arguments as to why Lead Plaintiffs had failed to establish liability and damages, thereby

exposing Lead Plaintiffs to the risk of having any favorable judgment reversed or reduced below

the Settlement Amount.

       98.        Based on all the factors summarized above, Lead Plaintiffs and Lead Counsel

respectfully submit that it was in the best interest of the Settlement Class to accept the certain

and substantial benefit conferred by the Settlement, instead of incurring the significant risk that

the Settlement Class could recover a lesser amount, or nothing at all, after several additional

years of arduous litigation.

       D.         General Risks in Prosecuting Securities Actions on a Contingent Basis

       99.        Securities class actions are increasingly dismissed at the class certification stage,

in connection with Daubert motions, or at summary judgment. For example, class certification

has been denied in several recent securities class actions. See, e.g., Ohio Pub. Emps. Ret. Sys. v.

Fed. Home Loan Mortg. Corp., No. 4:08CV0160, 2018 WL 3861840, at *20 (N.D. Ohio Aug.

14, 2018); In re Finisar Corp. Sec. Litig., No. 5:11-CV-01252-EJD, 2017 WL 6026244, at *9

(N.D. Cal. Dec. 5, 2017); Gordon v. Sonar Cap. Mgmt. LLC, No. 11-9665, 2015 WL 1283636

(S.D.N.Y. Mar. 19, 2015); Sicav v. James Jun Wang, No. 12-6682, 2015 WL 268855 (S.D.N.Y.

Jan. 21, 2015).

       100.       Even when class certification has been granted, courts have shortened the class

period based on similar arguments offered by Defendants here. See, e.g., W. Va. Pipe Trades

Health & Welfare v. Medtronic, Inc., 325 F.R.D. 280, 291-95 (D. Minn. 2018). As noted above, if

the Class Period were shortened, damages would be significantly reduced.

       101.       Courts also frequently dismiss securities class actions at the summary judgment

stage. See, e.g, In re Barclays Bank PLC Sec. Litig., No. 09-1989, 2017 WL 4082305, at *25

(S.D.N.Y. Sept. 13, 2017) (summary judgment granted on September 13, 2017 after eight years


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of litigation); Omnicom Grp., Inc. Sec. Litig., 541 F. Supp. 2d 546, 554-55 (S.D.N.Y. 2008),

aff’d 597 F.3d 501 (2d Cir. 2010) (summary judgment granted after six years of litigation and

millions of dollars spent by plaintiffs’ counsel); see also In re Xerox Corp. Sec. Litig., 935 F.

Supp. 2d 448, 496 (D. Conn. 2013), aff’d 766 F.3d 172 (2d Cir. 2014). And even cases that have

survived summary judgment have been dismissed prior to trial in connection with Daubert

motions. See Bricklayers and Trowel Trades Int’l Pension Fund v. Credit Suisse First Boston,

853 F. Supp. 2d 181 (D. Mass. 2012), aff’d 752 F.3d 82 (1st Cir. 2014) (granting summary

judgment sua sponte in favor of defendants after finding that plaintiffs’ expert was unreliable).

       102.    Even when securities class action plaintiffs are successful in having a class

certified, have prevailed at summary judgment, have overcome Daubert motions and have gone

to trial, there are still very real risks that there will be no recovery or substantially less of a

recovery for class members. For example, in In re BankAtlantic Bancorp, Inc., No. 07-61542,

2011 WL 1585605 (S.D. Fl. Apr. 25, 2011), a jury rendered a verdict in plaintiffs’ favor on

liability in 2010 but, the following year, the district court granted defendants’ motion for

judgment as a matter of law and entered judgment in favor of the defendants on all claims. In

2012, the Eleventh Circuit affirmed the district court’s ruling, finding that there was insufficient

evidence to support a finding of loss causation. 688 F.3d 713 (11th Cir. 2012).

       103.    There is also the increasing risk that an intervening change in the law can result in

the dismissal of a case after significant effort has been expended. The Supreme Court has heard

several securities cases in recent years, often announcing holdings that dramatically changed the

law in the midst of long-running cases. See Omnicare, Inc. v. Laborers Dist. Council Constr.

Indus. Pension Fund, 135 S. Ct. 1318 (2015); Halliburton Co. v. Erica P. John Fund, Inc., 134

S. Ct. 2398 (2014); Comcast Corp. v Behrand, 133 S. Ct. 1426 (2013); Morrison v. Nat’l Austl.




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Bank Ltd., 561 U.S. 247 (2010). As a result, many cases have been lost after the plaintiffs have

invested thousands of hours in briefing and discovery. For example, in In re Vivendi Univ., S.A.

Sec. Litig., 765 F. Supp. 2d 512, 524, 533 (S.D.N.Y. 2011), after a verdict for class plaintiffs

finding Vivendi acted recklessly with respect to 57 statements, the district court granted

judgment for defendants following a change in the law announced in Morrison.

        104.   Likewise, likely appeals of any judgment lead to many additional months, if not

years, of further litigation, exposing plaintiffs to risks of having any favorable judgment reversed

or reduced. This risk is very real in securities fraud class actions, as there are numerous instances

across the country where jury verdicts for plaintiffs in securities class actions were overturned

after appeal. See, e.g., Glickenhaus & Co. v. Household Int’l, Inc., 787 F.3d 408 (7th Cir. 2015)

(reversing and remanding jury verdict of $2.46 billion after 13 years of litigation); Robbins v.

Koger Props., Inc., 116 F.3d 1441 (11th Cir. 1997) (reversing $81 million jury verdict after 19-

day trial and dismissing case with prejudice); Anixter v. Home-Stake Prod. Co., 77 F.3d 1215

(10th Cir. 1996) (overturning plaintiffs’ verdict obtained after two decades of litigation); In re

Apple Comp. Sec. Litig., No. 84-20148, 1991 WL 238298 (N.D. Cal. Sept. 6, 1991) ($100

million jury verdict vacated on post-trial motions).

        105.   In sum, Lead Counsel respectfully submit that securities class actions face serious

risks of dismissal and non-recovery at all stages of litigation, and this Action is no different.

IV.     LEAD PLAINTIFFS’ COMPLIANCE WITH THE COURT’S ORDERS
        REQUIRING ISSUANCE OF SETTLEMENT NOTICE

        106.   The Preliminary Approval Order directed that the Notice of (I) Pendency of Class

Action and Proposed Settlement; (II) Settlement Fairness Hearing; and (III) Motion for an

Award of Attorneys’ Fees and Payment of Litigation Expenses (the “Notice”) be disseminated to

the Settlement Class; set May 27, 2020 as the deadline for Settlement Class Members to submit



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objections to the Settlement, the Plan of Allocation, and/or the Fee and Expense Application; set

May 27, 2020 as the deadline for Settlement Class Members to request exclusion from the

Settlement Class, and scheduled the final approval hearing for June 17, 2020. ECF No. 219.

       107.    The Preliminary Approval Order authorized Lead Counsel to retain Epiq Systems

(“Epiq”) as the Claims Administrator for the Settlement. Id. at ¶ 7. In accordance with the

Preliminary Approval Order, and the Court’s related order concerning the Notice Date (ECF No.

225) Epiq has: (i) mailed the Court-approved Notice and Claim Form (together, the “Notice

Packet”) to potential Settlement Class Members who have been identified through reasonable

effort; (ii) posted the Notice and Claim Form on the website developed for this Settlement,

www.SCANASecuritiesLitigation.com; and (iii) published the Summary Notice in the Wall

Street Journal and transmitted it over the PR Newswire. 5

       108.    The Notice sets forth a description of the terms of the Settlement and the proposed

Plan of Allocation and provides potential Settlement Class Members with, among other things,

an explanation of their right to object to any aspect of the Settlement, the Plan of Allocation,

and/or Lead Counsel’s request for an award of attorneys’ fees and payment of Litigation

Expenses, the manner for submitting a Claim Form in order to be eligible to receive a payment

from the Settlement, and their right to request exclusion from the Settlement Class. See generally

Ex. 3 - A. The Notice also informs Settlement Class Members of Lead Counsel’s intention to

apply for an award of attorneys’ fees in an amount not to exceed 14% of the Settlement Fund,

and for payment of Litigation Expenses incurred in connection with the institution, prosecution

and resolution of the Action, as well as Lead Plaintiffs’ PSLRA award, in an amount not to

exceed $1,200,000.


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       Epiq’s efforts are detailed in the Villanova Declaration, attached as Exhibit 3 hereto.


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       109.    As set forth in the Villanova Declaration, Epiq disseminated 21,771 copies of the

Notice Packet to potential Settlement Class Members and nominees by first-class mail by March

25, 2020. Villanova Decl. at ¶¶ 2-6. As of April 21, 2020, a total of 25,215 Notice Packets have

been mailed to potential Settlement Class Members and nominees. Id. at ¶ 9. Epiq also caused, in

accordance with the Court’s Orders, the Summary Notice to be published in Wall Street Journal

and to be transmitted via PR Newswire on April 8, 2020. Id. at ¶ 10.

       110.    Contemporaneously with the mailing of the Notice Packet, Epiq also created a

case website to provide Settlement Class Members and other interested parties with information

concerning the Settlement and the important dates and deadlines in connection therewith, as well

as access to downloadable copies of the Notice, Claim Form, Stipulation, and Preliminary

Approval Order. See id. at ¶ 14. The Notice Packet has also been posted on Lead Counsel’s firm

websites.

       111.    As noted above, the Court-ordered deadline for Settlement Class Members to

request exclusion or file objections to the Settlement, the Plan of Allocation and/or the Fee and

Expense Application is May 27, 2020. To date, no objections to the Settlement, Plan of

Allocation or Fee and Expense Application have been received, and no requests for exclusion

have been received. Lead Plaintiffs and Lead Counsel will address any objections in their reply

papers to be filed with the Court on June 10, 2020.

V.     ALLOCATION OF THE PROCEEDS OF THE SETTLEMENT

       112.    Pursuant to the Preliminary Approval Order, and as set forth in the Notice, all

Settlement Class Members who want to participate in the distribution of the Net Settlement Fund

(i.e., the Settlement Fund less any (a) Taxes, (b) Notice and Administration Costs, (c) Litigation

Expenses awarded by the Court, (d) attorneys’ fees awarded by the Court; and (e) other costs or

fees approved by the Court) are to submit a Claim Form by mail or online, using the case


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website, by no later than July 25, 2020. As set forth in the Notice, the Net Settlement Fund will

be distributed among Settlement Class Members who submit eligible claims according to the

plan of allocation approved by the Court.

       113.    Lead Counsel developed the proposed plan of allocation for the Net Settlement

Fund (the “Plan of Allocation”) in consultation with Lead Plaintiffs’ economic and damages

expert. Lead Counsel believe that the Plan of Allocation provides a fair and reasonable method to

equitably allocate the Net Settlement Fund among Settlement Class Members who suffered

losses as result of the conduct alleged in the Complaint.

       114.    The Plan of Allocation is set forth in the Notice. See Villanova Decl., Ex. A at

¶¶ 55-77. As described in the Notice, calculations under the Plan of Allocation are not intended

to be estimates of, nor indicative of, the amounts that Settlement Class Members might have

been able to recover at trial or estimates of the amounts that will be paid to Authorized Claimants

pursuant to the Settlement. Id. at ¶ 55. Instead, the calculations under the plan are a method to

weigh the claims of Settlement Class Members against one another for the purposes of making

pro rata allocations of the Net Settlement Fund.

       115.    In developing the Plan of Allocation, Lead Plaintiffs’ expert calculated the

estimated amount of artificial inflation in the per share closing price of publicly traded SCANA

common stock that allegedly was proximately caused by Defendants’ alleged false and

misleading statements and omissions. Notice ¶ 57. In calculating the estimated artificial inflation,

Lead Plaintiffs’ expert considered price changes in publicly traded SCANA common stock in

reaction to certain public announcements allegedly revealing the truth concerning Defendants’

alleged misrepresentations and omissions, adjusting for price changes that were attributable to

market or industry forces. Id.




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       116.    The Plan of Allocation calculates a “Recognized Loss Amount” or “Recognized

Gain Amount” for each purchase or acquisition of publicly traded SCANA common stock during

the Class Period that is listed in the Claim Form and for which adequate documentation is

provided by the claimant. Notice ¶ 61. The calculation of Recognized Loss Amounts under the

Plan will depend on when the claimant purchased and/or sold the shares, whether the claimant

held the shares through the statutory 90-day look-back period, see 15 U.S.C. § 78u-4(e), and the

value of the shares when the claimant purchased, sold, or held them. Claimants who purchased

publicly traded SCANA common stock during the Class Period but did not hold the securities

through at least one of the dates where artificial inflation was allegedly removed from the price

of the securities by a corrective disclosure will have no Recognized Loss Amount as to those

transactions because any loss they suffered would not have been caused by the disclosure of the

alleged fraud. Notice ¶ 59.

       117.    Under the Plan of Allocation, claimants’ Recognized Loss Amounts will be netted

against their Recognized Gain Amounts, if any, to determine the claimants’ “Recognized

Claims,” and the Net Settlement Fund will be allocated pro rata to Authorized Claimants based

on the relative size of their Recognized Claims. Notice ¶¶ 63, 72-73.

       118.    In sum, the Plan of Allocation was designed to fairly and rationally allocate the

proceeds of the Net Settlement Fund among Settlement Class Members based on the losses they

suffered on transactions in SCANA common stock that were attributable to the conduct alleged

in the Complaint. Accordingly, Lead Counsel respectfully submit that the Plan of Allocation is

fair and reasonable and should be approved by the Court.

       119.    As noted above, as of April 21, 2020 more than 25,000 copies of the Notice,

which contains the Plan of Allocation and advises Settlement Class Members of their right to




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object to the proposed Plan of Allocation, have been sent to potential Settlement Class Members

and nominees. See Villanova Decl. at ¶ 9. To date, no objections to the proposed Plan of

Allocation have been received.

VI.      THE FEE AND EXPENSE APPLICATION

         120.   In addition to seeking final approval of the Settlement and Plan of Allocation,

Lead Counsel are applying to the Court, on behalf of Plaintiffs’ Counsel, for an award of

attorneys’ fees of 14% of the Settlement Fund (the “Fee Application”). Lead Counsel also

request payment of Litigation Expenses incurred in connection with the prosecution of the

Action from the Settlement Fund in the amount of $729,303.12. Lead Counsel further request an

award to Lead Plaintiffs in the total amount of $41,832.21, directly related to their representation

of the Settlement Class, in accordance with the PSLRA, 15 U.S.C. § 78u-4(a)(4). The legal

authorities supporting the requested fee and expenses are discussed in Lead Counsel’s Fee

Memorandum. The primary factual bases for the requested fee and expenses are summarized

below.

         A.     The Fee Application

         121.   For Plaintiffs’ Counsel’s efforts on behalf of the Settlement Class, Lead Counsel

are applying for a fee award to be paid from the Settlement Fund on a percentage basis. Only

Lead Counsel, BLB&G and Labaton Sucharow, and Liaison Counsel, Motley Rice LLC, will be

paid from the fee award. Based on the quality of the result achieved, the extent and quality of the

work performed, the significant risks of the litigation, and the fully contingent nature of the

representation, Lead Counsel respectfully submit that the requested fee award is reasonable and

should be approved. As discussed in the Fee Memorandum, a 14% fee award is fair and

reasonable for attorneys’ fees in common fund cases such as this and is within the range of

percentages awarded in securities class actions in this Circuit with comparable settlements.


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                1.      Lead Plaintiffs Have Authorized and Support
                        the Fee and Expense Application

        122.    Lead Plaintiff West Virginia IMB is a sophisticated institutional investor that

closely supervised and monitored the prosecution and settlement of the Action. See Declaration

of Craig Slaughter, Ex. 2, at ¶¶ 2-6. West Virginia IMB has evaluated the Fee and Expense

Application and fully supports the requests. Id. at ¶ 8. Accordingly, Lead Plaintiff West Virginia

IMB’s endorsement of Lead Counsel’s fee and expense request demonstrates its reasonableness

and should be given weight in the Court’s consideration of the fee award.

        123.    Lead Plaintiff Big Sky is a sophisticated institutional investor that closely

supervised and monitored the prosecution and settlement of the Action. See Declaration of

Harmen Nieuwenhuis, Ex. 1, at ¶¶ 2-7. Blue Sky has evaluated the Fee and Expense Application

and fully supports the requests. Id. at ¶ 9. Accordingly, Lead Plaintiff Blue Sky’s endorsement of

Lead Counsel’s fee and expense request demonstrates its reasonableness and should be given

weight in the Court’s consideration of the fee award.

                2.      The Significant Time and Labor Devoted
                        to the Action by Plaintiffs’ Counsel

        124.    The work undertaken by Plaintiffs’ Counsel in investigating and prosecuting this

case and arriving at the Settlement in the face of substantial risks has been time-consuming and

challenging. As set forth above, the Action settled only after counsel overcame multiple legal

and factual challenges, extensive informal and formal fact discovery that was ongoing at the time

of settlement, including the analysis of more than 1.8 million pages of documents obtained

through informal discovery efforts, as well as over 5.2 million of pages of documents obtained

from Defendants through formal discovery, which Lead Counsel had begun to analyze at the

time of settlement, and defended or otherwise participated in seven depositions in connection

with class certification.


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       125.     Throughout this case, Lead Counsel devoted substantial time to its prosecution.

While we personally devoted significant time to the case, other experienced attorneys at our

firms were also involved, with more junior attorneys and paralegals working on matters

appropriate to their skill and experience level. Throughout the litigation, Lead Counsel

maintained an appropriate level of staffing that avoided unnecessary duplication of effort and

ensured the efficient prosecution of this litigation. At all times throughout the pendency of the

Action, Lead Counsel’s efforts were driven and focused on advancing the litigation to bring

about the most successful outcome for the Settlement Class, whether through settlement or trial.

       126.     The time and labor expended by Plaintiffs’ Counsel in pursuing this Action and

achieving the Settlement strongly demonstrate the reasonableness of the requested fee. Attached

hereto as Exhibits 5 to 7 are declarations from Plaintiffs’ Counsel in support of the Fee and

Expense Application (the “Fee and Expense Declarations”). Each of the Fee and Expense

Declarations includes a schedule summarizing the lodestar of the firm and the litigation expenses

it incurred, delineated by category. The Fee and Expense Declarations indicate the amount of

time spent on the Action by the attorneys and professional support staff of each firm from the

inception of the Action through March 31, 2020, and the lodestar calculations based on their

current hourly rates. For attorneys or professional support staff who are no longer employed by a

firm, the lodestar calculations are based upon the hourly rates for such person in his or her final

year of employment. The hourly rates of Plaintiffs’ Counsel range from $775 to $1,300 for

partners, $725 to $775 for of-counsel, $450 to $700 for associates, $335 to $410 for staff

attorneys,    $225   to   $375    for   paralegals/managing   clerk,   and   $175   to   $600   for

investigators/litigation support staff. These declarations were prepared from daily time records




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regularly maintained and prepared by the respective firms, which are available at the request of

the Court.

       127.    As set forth in Exhibit 8, Plaintiffs’ Counsel expended a total of 41,189.6 hours in

the investigation, prosecution, and resolution of the Action through March 31, 2020. The

resulting total lodestar for this time is $19,859,952.00; however, additional time will necessarily

be dedicated to seeking approval of the Settlement and its administration.

       128.    The requested 14% fee equals $26.95 million, before accrued interest, and

therefore, under the lodestar approach, is approximately 1.36 times the value of Plaintiffs’

Counsel’s lodestar. As discussed in the Fee Memorandum, this requested multiplier is within,

and indeed at the lower end of, the range of multipliers typically awarded by Courts in this

Circuit in cases involving significant contingency fee risk and settlements of similar magnitude.

See Fee Memorandum at §III.A.

               3.      The Quality of Plaintiffs’ Counsel’s Representation

       129.    Lead Counsel believe that the best test of the quality of the representation

provided is the quality of the results achieved for the class members whom counsel were

appointed to represent. Here, for the reasons previously detailed above, Lead Counsel

respectfully submit that the Settlement is a very favorable result for the Settlement Class.

Reached after years of dedicated effort, the Settlement is the result of Plaintiffs’ Counsel’s hard

work, persistence and skill in a case that presented significant litigation risks.

       130.    Moreover, as demonstrated by the firm resumes included as Exhibits 6 - C and 7 -

C hereto, Lead Counsel are among the most experienced and skilled law firms in the securities

litigation field, and each firm has a long and successful track record representing investors in

such cases. We believe Lead Counsel’s experience and ability added valuable leverage in the

settlement negotiations.


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               4.      Standing and Caliber of Defendants’ Counsel

       131.    The quality of the work performed by Plaintiffs’ Counsel in attaining the

Settlement should be evaluated in light of the quality of their opposition. Defendants were

represented by vigorous and extremely able counsel from many prestigious defense law firms,

including McGuireWoods LLP, counsel for Dominion Energy and Defendants SCANA, Stowe,

Hagood, and Roquemore; Cadwalader, Wickersham & Taft LLP, counsel for Defendant Marsh;

Alston & Bird, counsel for Defendant Addison; and Wilmer Cutler Pickering Hale and Dorr,

LLP, counsel for Defendant Byrne. In the face of this skillful and well-financed opposition, Lead

Counsel were nonetheless able to develop a case that was sufficiently strong to persuade

Defendants and their counsel to settle the case on terms that will benefit the Settlement Class.

               5.      The Risks of Litigation and the Need to Ensure the
                       Availability of Competent Counsel in High-Risk
                       Contingent Cases

       132.    The prosecution of these claims was undertaken entirely on a contingent-fee basis,

and the considerable risks assumed by Lead Counsel in bringing this Action to a successful

conclusion are described above. Those risks are relevant to the Court’s evaluation of an award of

attorneys’ fees. Here, the risks assumed by Counsel, and the time and expenses incurred by

Plaintiffs’ Counsel without any payment, were extensive.

       133.    From the outset, Lead Counsel understood that they were embarking on a

complex, expensive, lengthy, and hard-fought litigation with no guarantee of ever being

compensated for the substantial investment of time and the outlay of money that vigorous

prosecution of the case would require. In undertaking that responsibility, Lead Counsel were

obligated to ensure that sufficient resources (in terms of attorney and support staff time) were

dedicated to the litigation, and that Lead Counsel would further advance all of the costs

necessary to pursue the case vigorously on a fully contingent basis, including funds to


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compensate vendors and consultants and to cover the considerable out-of-pocket costs that a case

such as this typically demands. Because complex shareholder litigation generally proceeds for

several years before reaching a conclusion, the financial burden on contingent-fee counsel is far

greater than on a firm that is paid on an ongoing basis. Indeed, Lead Counsel have received no

compensation during the course of this Action, yet they have incurred $729,303.12 in expenses

in prosecuting this Action for the benefit of SCANA investors.

       134.    Plaintiffs’ Counsel’s persistent efforts in the face of significant risks and

uncertainties have resulted in a significant and certain recovery for the Settlement Class. In light

of this recovery and Plaintiffs’ Counsel’s investment of time and resources over the course of the

litigation, Lead Counsel believe the requested attorneys’ fee is fair and reasonable and should be

approved.

               6.      The Reaction of the Settlement Class to the Fee Application

       135.    As noted above, as of April 21, 2020, 25,215 Notice Packets have been mailed to

potential Settlement Class Members and nominees advising them that Lead Counsel would apply

for attorneys’ fees in an amount not to exceed 14% of the Settlement Fund. See Villanova Decl.

at ¶ 9 and Ex. A (Notice at ¶¶ 5, 78). In addition, the Court-approved Summary Notice has been

published in the Wall Street Journal and transmitted over the PR Newswire. Id. ¶ 10. To date, no

objections to the request for attorneys’ fees have been received.

       136.    In sum, Lead Counsel accepted this case on a contingency basis, committed

significant resources to it, and prosecuted it without any compensation or guarantee of success.

Based on the favorable result obtained, the quality of the work performed, the risks of the

Action, and the contingent nature of the representation, Lead Counsel respectfully submit that

the requested fee is fair and reasonable.




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       B.        The Litigation Expense Application

       137.      Lead Counsel also seek payment of $729,303.12 in Litigation Expenses that were

reasonably incurred in connection with the prosecution of the Action (the “Expense

Application”).

       138.      From the outset of the Action, Lead Counsel have been cognizant of the fact that

they might not recover any of their expenses and, further, that if there were to be payment of

expenses, it would not occur until the Action was successfully resolved, often a period lasting

several years. Lead Counsel also understood that, even assuming that the case was ultimately

successful, payment of expenses would not necessarily compensate them for the lost use of funds

advanced by them to prosecute the Action. Consequently, counsel were motivated to take steps

to minimize expenses whenever practicable without jeopardizing the vigorous and efficient

prosecution of the case.

       139.      Plaintiffs’ Counsel have incurred a total of $729,303.12 in litigation expenses in

connection with the prosecution of the Action. The expenses are summarized in Exhibit 9, which

was prepared based on the Fee and Expense Declarations submitted by each firm and identifies

each category of expense, e.g., expert fees, on-line legal and factual research, travel costs,

telephone and duplicating expenses, and the amount incurred for each category. As attested to in

each firm’s Fee and Expense Declaration (Exhibits 5 to 7 hereto), these expenses are reflected on

the books and records maintained by each Plaintiffs’ Counsel firm. These books and records are

prepared from expense vouchers, check records, and other source materials and are an accurate

record of the expenses incurred. Importantly, these expenses were recorded separately by

Plaintiffs’ Counsel and are not duplicated among the respective firms’ hourly rates.

       140.      Of the total amount of expenses, $296,351.08, or approximately 41%, was

expended for the retention of consulting experts. As noted above, Lead Counsel worked


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extensively with their expert on issues related to market efficiency, loss causation, and damages.

This work was instrumental in Lead Counsel’s appraisal of the claims, moving for class

certification, and ultimately bringing about the favorable result achieved.

       141.    Another significant category of expenses was for document management and

litigation support, which total $140,053.40, or approximately 19% of the total amount of

expenses.

       142.    The costs of mediation totaled $50,697.50, or approximately 7% of the total

expenses.

       143.    The combined costs of on-line legal and factual research were $68,569.26, or

approximately 9% of the total expenses. The costs of court reporting totaled $34,784.26, or

approximately 5% of total expenses.

       144.    Plaintiffs’ Counsel also incurred $56,015.50 in out-of-town travel costs, or

approximately 8% of the total expenses, for travel in connection with court appearances and

depositions in the Action. As detailed in the Fee and Expense Declarations, Lead Counsel have

capped these travel costs in various ways, including limiting airfare to coach rates and capping

expenses for meals and hotels.

       145.    The other expenses for which Plaintiffs’ Counsel seek payment are the types of

expenses that are necessarily incurred in litigation and regularly charged to clients. These

expenses include, among others, filing fees, copying/printing costs (in-house and through outside

vendors), long distance telephone charges, and postage and delivery expenses.

       146.    Additionally, pursuant to the PSLRA, 15 U.S.C. § 78u-4(a)(4), Lead Plaintiffs are

seeking reimbursement related directly to their representation of the Settlement Class, based on

the time that employees of West Virginia IMB and Blue Sky dedicated to the Action, including




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being deposed and participating in settlement negotiations, and out-of-pocket travel expenses

incurred. Such payments are expressly authorized and anticipated by the PSLRA, as discussed in

the Fee Memorandum, §V.

       147.     As set forth in the Slaughter Declaration, attached hereto as Exhibit 2, West

Virginia IMB seeks an award of $34,048.82, as reimbursement for the time it dedicated to the

Action ($27,650.70 in connection with 201.2 hours) and $6,398.12 in out-of-pocket expenses

related to its attendance at both mediations.    As set forth in the Nieuwenhuis Declaration

attached hereto as Exhibit 1, Blue Sky seeks a total of $7,783.39 in reimbursement for its time,

which is based on 147 hours.

       148.     The Notice informed potential Settlement Class Members that Lead Counsel

would be seeking payment of expenses in an amount not to exceed $1,200,000, including

reimbursement to the Lead Plaintiffs directly related to their representation of the Settlement

Class, as authorized by the PSLRA. See Ex. 3 - A at ¶¶ 5, 78. The aggregate amount requested,

$771,135.33, which includes $729,303.12 for litigation expenses incurred by Plaintiffs’ Counsel

and $41,832.21 in PSLRA reimbursement to the Lead Plaintiffs, is well below the $1.2 million

cap.

       149.     The expenses incurred by Plaintiffs’ Counsel and Lead Plaintiffs were reasonable

and necessary to represent the Settlement Class and achieve the Settlement. Accordingly, Lead

Counsel respectfully submit that the expenses should be paid in full from the Settlement Fund.

VII.   MISCELLANEOUS EXHIBITS

       150.     Attached hereto as Exhibit 10 is a true and correct copy of the unreported Order

Awarding Lead Counsel’s Attorneys’ Fees and Expenses, City of Ann Arbor Emps.’ Ret. Sys. v.

Sonoco Prods. Co., No. 4:08-cv-02348-TLW-KDW (D.S.C. Sept. 7, 2012), ECF No. 225

(Wooten, J.).


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VIII. CONCLUSION

       151.   For all the reasons stated above, Lead Plaintiffs and Lead Counsel respectfully

submit that the Settlement and the Plan of Allocation should be approved as fair, reasonable, and

adequate. Lead Counsel further submit that the requested fee of 14% of the Settlement Fund

should be approved as fair and reasonable, the request for payment of Plaintiffs’ Counsel’s

litigation expenses in the amount of $729,303.12 should be approved; and Lead Plaintiffs’

request for $41,832.21 should be approved.

   We declare, under penalty of perjury, that the foregoing is true and correct. Executed this

22nd day of April, 2020.



_____________________                                      _____________________
James W. Johnson                                           John C. Browne




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VIII. CONCLUSION

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_____________________                                      _____________________
James W. Johnson                                           John C. Browne




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on April 22, 2020, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will send a Notice of Electronic Filing to all

counsel of record.

                                            /s/ Marlon E. Kimpson
                                            MARLON E. KIMPSON (D.S.C. Bar No. 7487)
